Case 1:16-cv-20387-CMA Document 71 Entered on FLSD Docket 01/30/2020 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 16-20387-CIV-24292-ALTONAGA/LOUIS
                               (13-20334-CR-ALTONAGA)

  JOSEPH PETER CLARKE,

                        Movant,
  v.

  UNITED STATES OF AMERICA,

                        Respondent.
                                  /

       THE UNITED STATES’ RESPONSE TO MOVANT’S MEMORANDUM OF LAW
                                  CVDE 67

         The United States, by and through the undersigned Assistant United States Attorney,

  hereby respectfully submits its Response to Movant Joseph Peter Clarke’s Memorandum of Law.

                                PROCEDURAL BACKGROUND

         On May 10, 2013, a federal grand jury in the Southern District of Florida returned a 5-

  count indictment charging Bobby Jenkins and the Movant with conspiracy to commit a Hobbs Act

  robbery, in violation of 18 U.S.C. § 1951(a) (Count 1); conspiracy to possess with intent to

  distribute five or more kilograms of cocaine, in violation of 21 U.S.C. §§ 841(b)(1)(A)(ii) and 846

  (Count 2); possession of a firearm by a convicted felon, in violation of 18 U.S.C. § 922(g)(1)

  (Counts 3 & 4, respectively); and using and carrying a firearm during and in relation to a crime of

  violence and possession of a firearm in furtherance of a crime of violence, specifically, the Hobbs

  Act robbery as set forth in Count 1, in violation of 18 U.S.C. §§ 924(c)(1)(A) and 2 (CRDE12).




                                                  1
Case 1:16-cv-20387-CMA Document 71 Entered on FLSD Docket 01/30/2020 Page 2 of 7




          On August 2, 2013, the Government filed its notice of the Movant’s qualification for a

  sentencing enhancement under Title 18, United States Code, Section 3559(c) (CRDE28). On

  October 11, 2013, following a jury trial the Petitioner and his co-defendant were found guilty on

  all counts (CRDE80, 84). The Movant was sentenced to life imprisonment for Counts 1, 2, and

  4, and a consecutive life term for Count 5 (DE110). The Movant unsuccessfully appealed and

  remains incarcerated (DE113, 115).

          Principally, the Movant’s challenges address the predication of his Section 924(c) offence,

  and enhanced penalty under the Armed Career Criminal Act (Title 18, United States Code, Section

  924(e)) and the “Three Strikes Law” (Title 18, United States Code, Section 3559(c)).

          Based on the evolution of the case precedent, the United States submits that resentencing

  is warranted for the Movant as addressed below.

                                    FACTUAL BACKGROUND

          On April 30, 2013, at approximately 7:20 p.m., a special response team of ATF agents

  converged on the car in which co-defendant Bobby Jenkins and the Movant were seated. Seeing

  the agents, Jenkins, in the front passenger seat, quickly dropped his loaded .40 caliber Sig Sauer

  pistol to the floor of the car, removed the gloves he had been wearing and dropped them as well

  (CRDE137:166, 171-73). The Movant, seated in the back seat, dropped his semi-automatic rifle

  and gloves and got out of the car. He failed to follow the agents’ commands to raise his hands

  and moved as though he was contemplating escape. The agents fired a rubber bullet at his leg and

  stopped him. Jenkins then emerged from the car following the agents’ commands to put his hands

  up (id.).




                                                   2
Case 1:16-cv-20387-CMA Document 71 Entered on FLSD Docket 01/30/2020 Page 3 of 7




         Agents found the loaded semi-automatic rifle and gloves on the floorboard near the

  Movant’s seat (CRDE138:18-21). An additional loaded magazine for the rifle was recovered

  from under the front passenger seat (CRDE138:26). Jenkins and the Movant were wearing dark

  clothing and sweaters or sweatshirts. A black t-shirt, a white cloth, and a baseball cap were also

  recovered from the car (CRDE138:27-29).

         The ATF had begun investigating Jenkins one month earlier, on March 27, 2013, when a

  confidential informant (“CI”) told ATF Task Force Officer Kenneth Veloz that Jenkins was

  interested in committing a drug stash house robbery (DE137:18). Agent        Veloz    devised   a

  scenario - a home invasion robbery of 15 kilograms of cocaine from a drug dealer’s stash house –

  to determine if Jenkins was actually seeking to commit a robbery.

         On April 9, 2013, during a Jenkins assured Agent Veloz that he understood and he and his

  “people” could do the job (G.E. E7, E8, and CAV Disc). Jenkins claimed that he and his cousin

  had done a robbery in the past (id.). Jenkins brought the Movant to the next meeting ten days

  later, and introduced him to Agent Veloz (G.E. E13, E14, and CVA). In response to Agent

  Veloz’s statement that there would only be two people inside the house to protect the drugs and

  that at least one would be armed, the Movant concluded that “if it’s just them two, it shouldn’t

  really be no issue as far as getting in and getting out” (id.). Jenkins and the Movant also asked

  whether Agent Veloz wanted them to kill everyone in the stash house (id.).

         On April 24, 2013, at the third and final meeting before the robbery, the Movant told Agent

  Veloz that he and Jenkins would be ready (G.E. E18, 19). The Movant warned Agent Veloz to

  drop when he started shooting:




                                                  3
Case 1:16-cv-20387-CMA Document 71 Entered on FLSD Docket 01/30/2020 Page 4 of 7




                 JC: If it get ugly, it’s not gonna be all of that there. The guns –
                 when I move my trigger, I’m on precision. I’m not one of these
                 guys who be ‘round here shooting reckless, wild and all around like
                 that there. When I pull that trigger, I’m dropping your ass and
                 that’s the end of it. So when I drop you, you just continue your
                 movement, get out of the way, you understand me, and we meet up
                 from that point.

         (G.E. E18, E19).

         On April 30, 2013, the CI picked up Jenkins and the Movant, as arranged, with their

  firearms (G.E. E25; DE137:86-88). Jenkins told the CI that his assault rifle was an “AR-15” and

  the Movant stated that he had a “Sig.” While in the vehicle, which was actually an undercover

  vehicle equipped with audio and video cameras, the Movant accidentally fired the rifle making a

  hole in the floor of the car (G.E. E29). After they were arrested and placed in the police car, the

  Movant was recorded saying to himself, “Okay. Alright. Gone for life, Joe.             Thirty plus

  whatever.” Id.

         Probation set the Movant’s base offense level at 32 and added two levels because of his

  credible threat to use violence (PSI ¶¶ 20, 21). Probation determined that the Movant was a career

  offender, pursuant to USSG § 4B1.1, and identified his two qualifying prior felony convictions as

  (1) a 1995 conviction for armed robbery and resisting an officer without violence; and (2) a 2012

  conviction for fleeing and eluding the police (PSI ¶¶ 26, 32, 39). This resulted in a total offense

  level of 37 (PSI ¶ 26). Probation also determined that the Movant was an armed career offender

  and subject to statutory enhancement under Title 18, United States Code, Section 3559(c) (PSI

  ¶ 39, 72).

         The Movant scored a subtotal of 14 criminal history points but, because he had committed

  the present offense while on probation, two more points were added for a total of 16 criminal


                                                  4
Case 1:16-cv-20387-CMA Document 71 Entered on FLSD Docket 01/30/2020 Page 5 of 7




  history points and a criminal history category of VI (PSI ¶ 40). Based on his criminal history, the

  Movant predicated two mandatory life sentences for Count 1 Hobbs Act Conspiracy and Count 5

  Firearm Possession in Furtherance of the Hobbs Act Conspiracy. The Movant was also produced

  guidelines of 360 months to life for his drug trafficking conspiracy under Count 2 and conviction

  for Possession by a Convicted Felon as an Armed Career Criminal under Count 4.

     1. Movant’s Conviction for Conspiracy to Commit Hobbs Act Robbery Does Not
        Constitute Section 924(c) a Crime of Violence, CVDE 67, Page 7

         The United States concurs with the Movant that his prior conviction for conspiracy to

  commit Hobbs Act Robbery no longer constitutes a Section 924(c) crime of violence following

  United States v. Davis, 139 S. Ct. 2319 (2019). Brown v. United States, 942 F.3d 1069, 1076

  (11th Cir. 2019). Consequently, the movant’s Section 924(c) conviction under Count 5 of the

  Indictment predicated by the Hobbs Act Conspiracy charged in Count 1 is no longer viable.

     2. Movant is No Longer Properly Designated as a An Armed Career Criminal, CVDE
        67, Page 7

         The United States reaffirms its prior position that the Movant no longer qualifies as

  Armed Career Criminal under Title 18, United States Code, Section 924(e).

     3. The United States withdraws from the contention that the Movant’s Conviction for
        Conspiracy to Commit Hobbs Act Robbery Constitutes a Serious Violent Crime
        under 18 U.S.C. §3559(c), CVDE 67, Page 7

         Under the current jurisprudential landscape the United States withdraws its prior contention

  that the Movant qualifies as a “Three Strike” offender pursuant to 18, United States Code, Section

  3559(c). Pursuant to this position, and solely for the purpose of the Movant’s motion, the United

  States concurs that the Movant should resentenced under Count 1 of the indictment.




                                                  5
Case 1:16-cv-20387-CMA Document 71 Entered on FLSD Docket 01/30/2020 Page 6 of 7




     4. A Resentencing Hearing for the Movant is Warranted

         Although the Movant’s life sentence pursuant to Title 21, Untied States Code, Section 846

  remains lawful and within the guidelines as to Count 2 of the Indictment for Conspiracy to Possess

  Narcotics with Intent to Distribute, the United States notes that based on the concessions above,

  the Court may well deem it proper to conduct a resentencing hearing. At the prior sentencing the

  Court expressed that its sentence of the Movant was derived from the statutory mandatory

  sentencing laws governing the conduct.       See CRDE 146, Page 7 and 8.        Given that those

  considerations are no longer present, the United States submits that it would be proper to conduct

  a resentencing guided by the Title 18, Untied States Code, Section 3553 factors. The United

  States submits that a significant sentence of the Movant remains justified by the egregiousness of

  the underlying crimes proven at trial and the precursor criminal history.



                                               Respectfully submitted,

                                               ARIANA FAJARDO ORSHAN
                                               UNITED STATES ATTORNEY

                                        By:     /s/ Ignacio J. Vázquez, Jr.
                                               Ignacio J. Vázquez, Jr.
                                               Assistant United States Attorney
                                               Florida Bar No. 16275
                                               99 Northeast 4th Street
                                               Miami, Florida 33132-2111
                                               Tel: (305) 961-9318
                                               Fax: (305) 536-4699




                                                   6
Case 1:16-cv-20387-CMA Document 71 Entered on FLSD Docket 01/30/2020 Page 7 of 7




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY I electronically filed this document, with the Clerk of the Court

  using CM/ECF.

                                           /s/ Ignacio J. Vázquez, Jr.
                                           Ignacio J. Vázquez, Jr.
                                           Assistant United States Attorney




                                             7
